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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


   SONY MUSIC ENTERTAINMENT, et al.,

                          Plaintiffs,

          v.                                                Case No. 1:18-cv-00950-LO-JFA

   COX COMMUNICATIONS, INC., et al.,

                        Defendants.

          DECLARATION OF JENNIFER A. GOLINVEAUX IN SUPPORT OF
        COX’S MOTION TO TAKE ADDITIONAL THIRD-PARTY DEPOSITIONS

  I, Jennifer A. Golinveaux, hereby declare:

         1.      I am a partner with the firm of Winston & Strawn LLP, attorneys of record for

  Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”). I submit this

  declaration in support of Cox’s Motion for Leave to Seek Additional Non-party, Non-Expert,

  Depositions (the “Motion”). I have personal knowledge of all facts stated in this declaration, and

  if called upon as a witness, I could and would competently testify thereto.

         2.      I have read Plaintiffs’ Complaint in which it states that “Plaintiffs’ representatives

  (as well as others) sent hundreds of thousands of statutory infringement notices to Cox” and that

  “[t]hrough Plaintiffs’ infringement notices and other means, Cox had knowledge that its network

  was being used for copyright infringement on a massive scale, and also knew of specific

  subscribers engaged in such repeated and flagrant infringement.” Attached hereto as Exhibit 1

  are relevant excerpts from the First Amended Complaint.

         3.      Cox identified Jill Lesser, Dr. Christopher Monson and Dr. Seth Nielsen, Stroz

  Friedberg LLC (Stroz Friedberg), MarkMonitor, Inc (“MarkMonitor”), Audible Magic

  Corporation (“Audible Magic”), Victoria Sheckler, Deputy General Counsel of the Recording



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  Industry of America (“RIAA”), and the RIAA as third-parties with relevant information and

  knowledge regarding Plaintiffs’ system of providing Defendants notice of alleged infringement.

         4.      Cox first learned that the RIAA retained Audible Magic in 2012 to use its audio

  fingerprinting technology as the means to match allegedly infringing files to original content

  through its review of documents produced by MarkMonitor, Stroz Friedberg and the RIAA.

  Although Cox served its subpoenas on these parties back in January and February, Cox had to

  engage in extensive meet and confers with Stroz Friedberg and MarkMonitor, and motion practice

  with MarkMonitor, to obtain these documents. Audible Magic was not disclosed in Plaintiffs’

  initial disclosures and Defendants only learned about their relevance as a third-party by reviewing

  documents produced by other third-parties (MarkMonitor, Stroz Friedberg, and the RIAA).

  Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ initial disclosures. REDACTE
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         5.      On March 12, 2018 this Court issued a Scheduling Order stating that “a party may

  not exceed five (5) non-party, non-expert witness depositions.” Attached hereto as Exhibit 4 is a

  true and correct copy of the Scheduling Order.

         6.      Jill Lesser is the former Executive Director for the CCI, the organization that ran

  the now terminated Copyright Alert System (“CAS”), an inter-industry agreement concerning

  standards for addressing online copyright infringement through Internet Service Providers

  (“ISPs”), to which many of the Plaintiffs were signatories. The CAS system included copyright

  holders sending notices to participating Internet Service Providers (“ISPs”) of alleged infringement




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  on their networks. CAS used MarkMonitor to detect instances of alleged infringement and to send

  notices.

          7.     On March 26, 2019 Cox served a deposition subpoena on Jill Lesser but has not yet

  taken her deposition.

          8.     On March 1, 2019, Cox served a deposition subpoena on Harbor Labs regarding

  the technical analysis of and report regarding the MarkMonitor system that it conducted in 2013.

          9.     On April 2, 2019 Cox served a deposition subpoena on the two former Harbor Labs

  employees who authored the Harbor Labs report, Drs. Monson and Nielsen and on April 16, 2019

  Defendants conducted half-day depositions of them.

          10.    Audible Magic is a technology company whose proprietary audio fingerprinting

  technology is used by companies like MarkMonitor to identify content on allegedly infringing files

  and match it with a database.

          11.    On or around April 16, 2019 Cox served a deposition subpoena on Audible Magic

  and on May 6, 2019 Cox deposed Audible Magic.

          12.    Stroz Friedberg is a technology consulting company that was engaged by the CCI

  to analyze the MarkMonitor system and created a report in 2013 assessing it.

          13.    On April 30, 2019 Cox served a deposition subpoena on Stroz Friedberg and on

  May 6, 2019 Cox conducted a deposition of Stroz Friedberg.

          14.    MarkMonitor is the company hired by the RIAA to locate the alleged infringement

  by Cox’s subscribers, and to generate the infringement notices to Cox that are at issue in this

  litigation.

          15.    On April 12, 2019 Cox served a deposition subpoena on MarkMonitor.

          16.    MarkMonitor moved to quash the subpoena in light of its identified corporate




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  designees being located around the country and in foreign countries and its claimed overbreadth

  of the subpoena. On May 9, 2019, the Northern District of California granted the motion to quash

  Cox’s deposition subpoena, providing guidance on the appropriate parameters of a new deposition

  subpoena given the witnesses and technology at issue. Cox will serve a new deposition subpoena

  on MarkMonitor in compliance with the Court’s rulings.

         17.     On April 16, 2019 Cox served deposition subpoenas on the RIAA. The deposition

  subpoena on the RIAA was served on Plaintiffs’ counsel who also represents the RIAA. On April

  17, 2019 Plaintiffs counsel accepted service for Victoria Sheckler, Deputy General Counsel of the

  RIAA, individually.

         18.     Despite Ms. Sheckler having had all of the relevant correspondence with Cox

  regarding the processing of Plaintiffs’ notices, the RIAA designated only one witness in response

  to Cox’s 30(b)(6) deposition notice, Steven Marks, Chief, Digital Business & General Counsel of

  the RIAA. REDACTED




         19.     On April 30, 2019 I sent Plaintiffs’ counsel an email requesting that the stipulation

  for an additional deposition each would be premised on the understanding that the two half-day

  depositions of Dr. Monson and Dr. Nielsen should be considered one deposition and that the RIAA

  would designate Ms. Sheckler, the proper 30(b)(6) witness. On May 2, 2019 Mr. Gould’s reply

  indicated that Plaintiffs did not want to stipulate to Defendants’ premise regarding the additional

  deposition. Attached hereto as Exhibit 6 is a true and correct copy of the emails.

         20.     The parties further met and conferred on May 7 and May 10, 2019. Plaintiffs

  declined to stipulate to Cox taking the identified eight non-party, non-expert witness depositions.




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         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.


         Executed this 10th day of May, 2019 in San Francisco, California.


                                              /s/ Jennifer A. Golinveaux
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